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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


HON. BENNIE G. THOMPSON, in his
personal capacity, et al.,

                   Plaintiffs,
                                            Case No. 1:21-cv-00400 (APM)
      v.

DONALD J. TRUMP, solely in his personal
capacity, et al.,

                   Defendants.



                 BRIEF OF LAW PROFESSORS AS AMICI CURIAE
                         IN SUPPORT OF PLAINTIFFS

                                      Elizabeth B. Wydra (DC Bar No. 483298)
                                      Brianne J. Gorod (DC Bar No. 982075)
                                      Dayna J. Zolle (DC Bar No. 1672633)
                                      CONSTITUTIONAL ACCOUNTABILITY
                                          CENTER
                                      1200 18th Street NW, Suite 501
                                      Washington, D.C. 20036
                                      (202) 296-6889
                                      brianne@theusconstitution.org

                                      Counsel for Amici Curiae
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                               INTEREST OF AMICI CURIAE1

       Amici are law professors whose teaching and research focus on constitutional law,

executive immunity, and separation of powers principles. Given their expertise, amici have a

substantial interest in ensuring that this Court understands that, under binding Supreme Court

precedent, a president is not entitled to absolute immunity for actions taken outside the outer

perimeter of his official responsibility and that former President Donald Trump is therefore not

entitled to absolute immunity for the private conduct challenged here. Amici also have a strong

interest in ensuring that this Court recognizes that the separation of powers principles and public

policy considerations that form the foundation for that precedent further compel the denial of

Trump’s bid for absolute immunity.

       A full listing of amici appears in the Appendix.

                   INTRODUCTION AND SUMMARY OF ARGUMENT

       On January 6, 2021, then-President Donald Trump allegedly conspired with others “to

incite an assembled crowd to march upon and enter the Capitol of the United States.” Am. Compl.

¶ 1, ECF No. 11-1. As the Amended Complaint alleges, Trump did so to disrupt, “by the use of

force, intimidation, and threat, the approval by Congress of the count of votes cast by members of

the Electoral College,” congressional action that is “required by Article II, Section 1 and the

Twelfth Amendment of the United States Constitution. . . . to elect the next President and Vice

President of the United States.” Id. Plaintiffs are eleven members of Congress who allege that

they were injured by Trump’s personal actions on and leading up to that day. See id. ¶¶ 2, 22, 265.

Another member of Congress, as well as two U.S. Capitol Police officers, have made similar


   1
     Amici state that no counsel for a party authored this brief in whole or in part, and no person
other than amici or their counsel made a monetary contribution to the brief’s preparation or
submission.


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allegations in two related cases also pending in this Court. See Compl. ¶¶ 9-11, Swalwell v. Trump,

No. 1:21-cv-586 (D.D.C. Mar. 5, 2021); Am. Compl. ¶ 1, Blassingame v. Trump, No. 1:21-cv-858

(D.D.C. Apr. 28, 2021).

       Trump argues that absolute presidential immunity bars Plaintiffs’ claims against him. E.g.,

Trump Mot. to Dismiss 8, ECF No. 22-1. This Court should reject that argument, however,

because it is foreclosed by well-established Supreme Court precedent, as well as the separation of

powers concerns and public policy considerations underlying that precedent.

       Although the Supreme Court has recognized that a president enjoys absolute immunity

“from damages liability for acts within the ‘outer perimeter’ of his official responsibility,” Nixon

v. Fitzgerald, 457 U.S. 731, 756 (1982), the Court has made clear that absolute immunity does not

extend to any “unofficial conduct” that falls beyond that outer perimeter, Clinton v. Jones, 520

U.S. 681, 693 (1997); see also id. at 694 (explaining that the Court’s reasoning in Fitzgerald

“provides no support for an immunity for unofficial conduct”). In allegedly inciting a riot at the

U.S. Capitol to forcibly interfere with Congress’s certification of the 2020 presidential election

results, see Am. Compl. ¶¶ 1, 5—conduct for which Plaintiffs have sued Trump in his personal

capacity, id. at 1, ¶ 22—Trump acted well beyond the scope of his official responsibilities as

president. In fact, the Constitution and federal law expressly require Congress to certify the

Electoral College’s votes, see U.S. Const. art. II, § 1, cl. 3, and this constitutionally mandated

process was ongoing when Trump allegedly prompted his supporters to “engage in tumultuous and

violent conduct,” Am. Compl. ¶ 4, to interfere with it.

       Significantly, the Supreme Court has held that presidents are entitled to immunity for their

official conduct because, in the Court’s view, absolute presidential immunity is needed to preserve

the separation of powers and serve the public interest. The Court has explained that because a




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president’s “duties . . . are of unrivaled gravity and breadth,” Trump v. Vance, 140 S. Ct. 2412,

2425 (2020), separation of powers principles dictate that courts must refrain from reviewing a

president’s official actions in private suits for damages, as the threat of such litigation could inhibit

the performance of his official functions, see Fitzgerald, 457 U.S. at 749-54. Relatedly, the Court

has recognized that in cases challenging the exercise of a president’s most sensitive official

functions, “there exists the greatest public interest in providing [the president] ‘the maximum

ability to deal fearlessly and impartially with’ the duties of his office.” Id. at 752 (quoting Ferri

v. Ackerman, 444 U.S. 193, 203 (1979)). Trump, however, seeks to invoke the immunity doctrine

as a shield from damages liability for private conduct that allegedly sought to serve his own private

interests by forcibly interfering with the constitutionally mandated functions of Congress. This

Court should not allow Trump to do so. Instead, binding Supreme Court precedent, as well as

separation of powers principles and public policy considerations, compel the denial of Trump’s

bid for absolute immunity for his personal efforts to forcibly disrupt congressional proceedings

and infiltrate the “People’s House.”

                                            ARGUMENT

I.      Absolute Presidential Immunity Does Not Shield a Former President Sued in His
        Personal Capacity from Damages Liability for Unofficial Conduct.

        A.      The Supreme Court Has Repeatedly Affirmed that Absolute Presidential
                Immunity Extends to the Outer Perimeter of a President’s Official
                Responsibility—And No Further.

        As the Supreme Court has repeatedly declared, “No man in this country is so high that he

is above the law. . . . [The law] is the only supreme power in our system of government, and every

man who by accepting office participates in its functions is only the more strongly bound to submit

to that supremacy.” United States v. Lee, 106 U.S. 196, 220 (1882); accord Butz v. Economou,

438 U.S. 478, 506 (1978).



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       Consistent with this maxim, the Supreme Court has acknowledged that a president is

absolutely immune from private suits for damages challenging his “official acts,” Fitzgerald, 457

U.S. at 754 (emphasis added)—or “acts within the ‘outer perimeter’ of his official responsibility,”

id. at 756—but it has “never suggested that the President, or any other official, has an immunity

that extends beyond the scope of any action taken in an official capacity,” Jones, 520 U.S. at 694.

In fact, the Court has flatly rejected claims for absolute presidential immunity for conduct beyond

the “outer perimeter” of the president’s official responsibility, holding that a president remains

“subject to the laws for his purely private acts.” Id. at 696; cf. Chastain v. Sundquist, 833 F.2d

311, 315 (D.C. Cir. 1987) (recognizing that absolute executive privilege is “subject only to the

requirement that [executive officials’] actions fall within the outer perimeter of their official

duties”). Under this binding precedent, this Court must reject the former president’s “effort to

construct an immunity from suit for unofficial acts grounded purely in the identity of his [former]

office.” Jones, 520 U.S. at 695 (emphasis added).

       The Supreme Court has long applied this “outer perimeter” test to determine the scope of

official immunity in other contexts, see, e.g., Barr v. Matteo, 360 U.S. 564, 575 (1959) (noting

that the fact “that the action here taken was within the outer perimeter of petitioner’s line of duty

is enough to render the privilege applicable”); Spalding v. Vilas, 161 U.S. 483, 498 (1896)

(acknowledging that immunity covers the scope of one’s “official acts”), and it adopted that test

in the context of adjudicating a claim of absolute presidential immunity in Nixon v. Fitzgerald, a

private suit for civil damages against former President Richard Nixon for “actions allegedly taken

in the former president’s official capacity during his tenure in office,” 457 U.S. at 733. The

respondent in that case, a former management analyst with the U.S. Air Force, challenged Nixon’s




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involvement in his dismissal from that post, which he alleged violated two federal statutes and the

First Amendment. Id. at 733-34, 740.

       In holding that a president “is entitled to absolute immunity from damages liability

predicated on his official acts,” id. at 749 (emphasis added), the Supreme Court reasoned “that the

Presidential privilege is ‘rooted in the separation of powers under the Constitution,’” id. at 753

(quoting United States v. Nixon, 418 U.S. 683, 708 (1974)). The Court explained that “[b]ecause

of the singular importance of the President’s duties,” id. at 751, and because “a President must

concern himself with matters likely to ‘arouse the most intense feelings,’” id. at 752 (quoting

Pierson v. Ray, 386 U.S. 547, 554 (1967)), the president must be able to “make the most sensitive

and far-reaching decisions entrusted to any official under our constitutional system,” id. at 752,

without fear of private litigation for damages. The threat of such litigation, the Court observed,

would “distract a President from his public duties.” Id. at 753; see also id. at 752 (recognizing that

immunity “provid[es] an official ‘the maximum ability to deal fearlessly and impartially with’ the

duties of his office” (quoting Ferri, 444 U.S. at 203)); Vance, 140 S. Ct. at 2425 (“[The president’s]

duties . . . are of unrivaled gravity and breadth. Quite appropriately, those duties come with

protections that safeguard the President’s ability to perform his vital functions.”). Thus, when a

president makes those decisions constitutionally entrusted to him as president, separation of

powers principles dictate that courts should refrain from entertaining private suits for damages

challenging that official conduct, as such suits could infringe on the president’s ability to do his

job. See Fitzgerald, 457 U.S. at 762 (Burger, C.J., concurring) (“Exposing a President to civil

damages actions for official acts within the scope of the Executive authority would inevitably

subject Presidential actions to undue judicial scrutiny . . . .” (emphasis added)).




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        In applying its “outer perimeter” test to the facts in Fitzgerald, the Court determined that

“[i]t clearly is within the President’s constitutional and statutory authority to prescribe the manner

in which the [Air Force] Secretary will conduct the business of the Air Force.” Id. at 757 (citing

the relevant statute). Thus, the Court concluded that former President Nixon’s role in “prescribing

reorganizations and reductions in force” was statutorily “mandate[d]” by his office and “lay well

within the outer perimeter of his authority.” Id. His conduct was therefore unreviewable. See id.

        In Clinton v. Jones, the Court unanimously confirmed that absolute presidential immunity

does not extend beyond the outer perimeter of a president’s official responsibilities. 520 U.S. at

694. Jones was a private suit for damages against then-President Bill Clinton in which the

respondent alleged that Clinton had sexually harassed her before he became president. Id. at 684-

86. The Court examined the rationale underlying its decision in Fitzgerald—that “immunity

serves the public interest in enabling such officials to perform their designated functions

effectively without fear that a particular decision may give rise to personal liability,” id. at 693

(emphasis added), and without “rendering the President ‘unduly cautious in the discharge of his

official duties,’” id. at 694 (emphasis added) (quoting Fitzgerald, 457 U.S. at 752 n.32)—and

concluded that “[t]his reasoning provides no support for an immunity for unofficial conduct,” id.

Thus, the Court determined that “[t]he principal rationale for affording certain public servants

immunity from suits for money damages arising out of their official acts is inapplicable to

unofficial conduct.” Id. at 692-93.

        Applying that rationale in Jones, the Court held that Clinton remained “subject to the laws

for his purely private acts.” Id. at 696; see id. at 705 (“[I]t must follow that the federal courts have

power to determine the legality of his unofficial conduct.”). In doing so, the Court emphasized

that “immunities are grounded in ‘the nature of the function performed, not the identity of the actor




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who performed it,’” id. at 695 (quoting Forrester v. White, 484 U.S. 219, 229 (1988)), and it

rejected Clinton’s “effort to construct an immunity from suit for unofficial acts grounded purely

in the identity of his office,” id. (emphasis added). The Court therefore concluded that the case

against Clinton could proceed, even though he was president at the time of the lawsuit. See id. at

705-06, 708.

       B.      Trump’s Conduct in Allegedly Inciting a Riot at the Capitol to Forcibly
               Disrupt a Constitutionally Mandated Session of Congress Went Far Beyond
               the Outer Perimeter of His Official Responsibility and Does Not Warrant
               Absolute Immunity.

       Trump’s alleged actions on and before January 6—including inciting a riot at the U.S.

Capitol to forcibly interfere with Congress’s approval of the presidential election results—fell far

outside the “outer perimeter” of his official responsibility as president, and he therefore cannot

invoke absolute presidential immunity to escape the consequences of those private actions.

       As Plaintiffs allege in detail in the Amended Complaint, Trump’s actions were “part of an

ongoing course of action . . . for the purpose of contesting the announced results of the presidential

election held in November 2020.” Am. Compl. ¶ 5. Trump frequently characterized the election

as having been “rigged,” id. ¶ 33, and he repeatedly signaled his support for those who threatened

to use violence to challenge the election results, see, e.g., id. ¶ 31 (referring to his supporters as

the “Trump Army”); id. ¶ 32 (praising supporters who swarmed a Biden campaign bus and nearly

caused a car accident, saying, “These patriots did nothing wrong”); id. ¶ 30 (refusing to denounce

a white supremacist group called the Proud Boys and instead instructing them to “stand back and

stand by”). In December 2020, he applauded the occurrence of “Stop the Steal” rallies across the

country, tweeting, “WE HAVE JUST BEGUN TO FIGHT!!!” Id. ¶ 54. And in promoting the

January 6, 2021 rally, he tweeted that there would be a “[b]ig protest in DC on January 6th. Be

there, will be wild!” Id. ¶ 55.



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        When he spoke to the crowd that ultimately gathered on January 6, he explained that

Congress was in the process of certifying the election results, telling the crowd, “Now it is up to

Congress to confront this egregious assault on our democracy. . . . [Y]ou’ll never take back our

country with weakness. You have to show strength, and you have to be strong.” Id. ¶ 85 (emphasis

omitted). After the crowd began chanting, “Storm the Capitol,” “Invade the Capitol Building,”

and “Take the Capitol right now,” he declared, “Something is wrong here, something is really

wrong, . . . and if you don’t fight like hell, you’re not going to have a country anymore.” Id. ¶ 88.

        These alleged actions were “unrelated to any of [Trump’s] official duties as President of

the United States,” Jones, 520 U.S. at 686, and therefore fell well “outside the outer perimeter” of

his presidential responsibilities, Fitzgerald, 457 U.S. at 756. The president’s power to act “must

stem either from an act of Congress or from the Constitution itself.” Youngstown Sheet & Tube

Co. v. Sawyer, 343 U.S. 579, 585 (1952). The Constitution, as originally written, gave Congress

the responsibility to count Electoral College votes, see U.S. Const. art. II, § 1 (unamended

Constitution), and although the Constitution has been amended four times to address the election,

succession, or removal of the president from office, it has never expressly given the president any

role in that process, see U.S. Const. amends. XII, XX, XXII, XXV. Likewise, although Congress

has legislated in great detail on this topic, it has also never authorized the president to participate

in the counting of electoral votes. See 3 U.S.C. §§ 1-21; see, e.g., id. § 15 (stating that “Congress

shall be in session on the sixth day of January succeeding every meeting of the electors” and that

“[t]he Senate and House of Representatives shall meet in the Hall of the House of Representatives

. . . on that day” to count and certify the electors’ votes).

        Moreover, there is plainly no constitutional or legislative authority for a president to

encourage the violent disruption of a congressional proceeding. In fact, the only circumstance in




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which the Constitution explicitly authorizes the president to adjourn Congress and thereby prevent

it from meeting is when the House and Senate disagree as to the time for adjournment. U.S. Const.

art. II, § 3. And even if a president can attempt to influence the process of counting and certifying

electoral votes, the actions Trump allegedly took to promote the disruption of that process for his

personal gain “by the use of force, intimidation, and threat,” Am. Compl. ¶ 1, plainly exceeded his

official responsibilities as president. Indeed, Trump took the alleged actions not as president, but

as a candidate running for president who, having lost the election, was trying to prevent the

democratic process mandated by the Constitution from playing out. Just as Trump would not be

eligible for absolute immunity if he were a failed candidate for president who refused to leave

office after his term, he is not eligible for absolute immunity as a failed candidate who, for his

personal gain, allegedly encouraged the use of force to prevent Congress from certifying the

election results.

        This case is therefore very different than Fitzgerald, where the Court held that the president

enjoyed absolute immunity from liability for civil damages. In Fitzgerald, the Court determined

that the challenged decision-making was “clearly . . . within the President’s constitutional and

statutory authority” and was indeed “mandate[d]” by his office, id. at 757. Far from being

“mandate[d]” by his office, however, Trump’s alleged actions were wholly unauthorized by any

legal authority.2 They were instead unofficial and motivated by his private interests. The former



    2
     Trump’s argument that he “was exercising rights firmly entrenched in the First Amendment,”
Trump Mot. to Dismiss 1, does not alter this analysis. That Trump’s speech may have been
protected under the First Amendment does not mean that he was acting within the outer perimeter
of his official responsibility as president. His was still purely private speech that he allegedly
delivered specifically to interfere with official government functions. In any event, the First
Amendment is irrelevant in this case, as it does not involve a federal or state law abridging the
freedom of speech or the right to peaceably assemble, see U.S. Const. amend. I, and the First
Amendment cannot confer immunity on an official for conduct that falls outside the outer
perimeter of his official functions.


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president therefore cannot invoke absolute presidential immunity for his purely private acts, see

Jones, 520 U.S. at 696, which fell well outside the outer perimeter of his official responsibilities.

         Thus, under binding Supreme Court precedent, this Court must deny Trump’s attempt to

invoke absolute presidential immunity. Moreover, as the next Section explains, the reasoning

underlying that precedent—particularly the recognition that presidential immunity is grounded in

separation of powers concerns and the public policy interest in the effective functioning of the

federal government—further demonstrates why Trump should not be shielded from liability in this

case. See Fitzgerald, 457 U.S. at 755 (“In defining the scope of an official’s absolute privilege,

this Court has recognized that the sphere of protected action must be related closely to the

immunity’s justifying purposes.”); accord Jones, 520 U.S. at 694.

   II.      The Separation of Powers Concerns and Public Policy Considerations
            Underlying the Supreme Court’s Immunity Precedent Further Compel the
            Denial of Trump’s Claim for Absolute Immunity.

         Although “[t]he Constitution makes no mention of special presidential immunities,”

Halperin v. Kissinger, 606 F.2d 1192, 1211 (D.C. Cir. 1979) (quoting Nixon v. Sirica, 487 F.2d

700, 711 (D.C. Cir. 1973) (en banc)), affirmed by an equally divided Court in Kissinger v.

Halperin, 452 U.S. 713 (1981), the Supreme Court has recognized, as explained above, that a

president enjoys absolute immunity when performing his official functions because such immunity

protects the separation of powers and the public interest. The Court has explained that “[b]ecause

the Presidency did not exist through most of the development of common law, any historical

analysis must draw its evidence primarily from our constitutional heritage and structure,” including

the nature of the federal “government under a constitutionally mandated separation of powers” and

“concerns of public policy.” Fitzgerald, 457 U.S. at 747-48. In developing the presidential

immunity doctrine, the Court “drew a careful analogy to the common law absolute immunity of




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judges and prosecutors, concluding that a President, like those officials, must ‘deal fearlessly and

impartially with the duties of his office’—not be made ‘unduly cautious in the discharge of [those]

duties’ by the prospect of civil liability for official acts.” Vance, 140 S. Ct. at 2426 (alteration in

original) (quoting Fitzgerald, 457 U.S. at 751-52 & n.32).

       Thus, as Trump repeatedly acknowledged in his Motion to Dismiss, presidential immunity

stems from separation of powers principles and public policy concerns. See, e.g., Trump Mot. to

Dismiss 8 (“[C]ourts have long held that presidents are covered by absolute immunity, which is

grounded in the principle of separation of powers and entrenched in precedent dating back to

common law traditions.”); id. at 9 (citing Pierson, 386 U.S. at 554, for the proposition that

“immunity serves the public interest in preserving the independence and decisiveness necessary of

government officials”). Indeed, Chief Justice Burger wrote a separate concurrence in Fitzgerald

“to underscore that the Presidential immunity derives from and is mandated by the constitutional

doctrine of separation of powers.” 457 U.S. at 758 (Burger, C.J., concurring); see id. at 760

(“Absolute immunity for a President for acts within the official duties of the Chief Executive is

either to be found in the constitutional separation of powers or it does not exist. The Court today

holds that the Constitution mandates such immunity and I agree.”).

       As noted above, the separation of powers rationale behind absolute presidential immunity

lies in ensuring that a president, as the nation’s “Chief Executive,” id. at 760, can make the

decisions specifically entrusted to him, without needing to worry about private suits for damages

challenging his official conduct.     The public interest rationale for presidential immunity is

similarly grounded in an understanding that immunity is “not for the protection or benefit of a

malicious or corrupt [official], but for the benefit of the public, whose interest it is that the

[officials] should be at liberty to exercise their functions with independence and without fear of




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consequences.” Id. at 745-46. Thus, the Court has acknowledged that “an executive official’s

claim to absolute immunity must be justified by reference to the public interest in the special

functions of his office, not the mere fact of high station.” Harlow v. Fitzgerald, 457 U.S. 800, 812

(1982).

          Neither of these two rationales underlying the doctrine of absolute presidential immunity

supports Trump’s argument for the application of that doctrine in this case. In fact, they counsel

strongly against it. As Chief Justice Burger explained, “[t]he essential purpose of the separation

of powers is to allow for independent functioning of each coequal branch of government within its

assigned sphere of responsibility, free from risk of control, interference, or intimidation by other

branches.” Fitzgerald, 457 U.S. at 760-61 (Burger, C.J., concurring). But Trump’s alleged actions

challenged in this case—inciting a riot at the U.S. Capitol to forcibly disrupt a constitutionally

mandated session of Congress—were designed specifically to interfere with the independent

functioning of a branch of government. See Am. Compl. ¶¶ 1, 75-76. It would therefore be

particularly inappropriate for Trump to be able to hide behind the shield of absolute immunity—

which is intended to preserve the separation of powers—for his flagrant attempt to forcibly

interfere with Congress’s lawful duties for his personal gain. See Halperin, 606 F.2d at 1211-12

(“Clearly, a proper regard for separation of powers does not require that the courts meekly avert

their eyes from presidential excesses while invoking a sterile view of three branches of government

entirely insulated from each other. Such an abdication of the judicial role would sap the vitality

of the constitutional rights whose protection is entrusted to the judiciary.”).

          In short, the presidential immunity doctrine is designed to prevent the judicial branch from

undermining, however inadvertently, the president’s capacity to discharge fully and fearlessly his

constitutionally assigned roles. It would be entirely improper to apply that doctrine to allow a




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current or former president to encourage the use of violence in order to incapacitate Congress in

the discharge of its constitutional obligations. Such an application would be a perversion of the

separation of powers.

       Relatedly, the public interest in maintaining a well balanced and functioning government—

and ensuring that the president can fulfill his official responsibilities without fear of personal

liability—compels the denial of absolute presidential immunity here.           As explained above,

Plaintiffs do not challenge Trump’s official conduct, so the public policy considerations that justify

insulating the president from damages liability for his official functions are inapposite. And

Trump’s alleged conduct—his effort to prevent, “by the use of force, intimidation, and threat,”

Am. Compl. ¶ 1, the certification of the presidential election results in the manner mandated by

the Constitution and to prevent the orderly transition of power—is plainly at odds with the public

interest in a functioning government that operates in a manner consistent with the Constitution and

federal law. See Evan Caminker, Democracy, Distrust, and Presidential Immunities, 36 Const.

Comment. (forthcoming 2021) (manuscript at 29-30) (“If immunity is designed to let the president

serve her national constituency rather than be deflected by narrower interests, . . . . [t]he

representation-reinforcing justification for an immunity shield . . . dissipates for presidential

misconduct motivated by self-dealing that injures the public interest.”). For this reason too,

absolute immunity is particularly inappropriate in the context of this case.

       Thus, not only does Supreme Court precedent foreclose Trump’s attempt to invoke

absolute presidential immunity, but the separation of powers principles and public policy

considerations underlying that precedent further demonstrate why this Court must deny his

immunity claim.




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                                       CONCLUSION

       For the foregoing reasons, this Court should conclude that absolute immunity does not bar

Plaintiffs’ claims against Trump.


                                            Respectfully submitted,


                                            /s/ Brianne J. Gorod
                                            Elizabeth B. Wydra (DC Bar No. 483298)
                                            Brianne J. Gorod (DC Bar No. 982075)
                                            Dayna J. Zolle (DC Bar No. 1672633)
                                            CONSTITUTIONAL ACCOUNTABILITY
                                                CENTER
                                            1200 18th Street NW, Suite 501
                                            Washington, D.C. 20036
                                            (202) 296-6889
                                            brianne@theusconstitution.org

                                            Counsel for Amici Curiae

       Dated: July 8, 2021




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                                  APPENDIX:
                                 LIST OF AMICI
 Evan H. Caminker
 Dean Emeritus and Branch Rickey Collegiate Professor of Law,
 University of Michigan Law School

 Andrew Kent
 Professor of Law and John D. Feerick Research Chair,
 Fordham University School of Law

 Sheldon Nahmod
 University Distinguished Professor of Law Emeritus,
 IIT Chicago-Kent College of Law

 Daphna Renan
 Peter B. Munroe and Mary J. Munroe Professor of Law,
 Harvard Law School

 Peter M. Shane
 Jacob E. Davis and Jacob E. Davis II Chair in Law,
 The Ohio State University Moritz College of Law


 † Current institutional affiliations are listed for identification purposes only.




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                             CERTIFICATE OF COMPLIANCE

       I hereby certify that this brief complies with the type-volume limitation of Local Rule

7(o)(4) because it does not exceed 25 pages.

       I further certify that the attached amici brief complies with the typeface and type style

requirements of Local Rule 5.1(d) because it has been prepared in a proportionally spaced typeface

using Microsoft Word 2016 and 12-point Times New Roman font.

       Executed this 8th day of July, 2021.

                                               /s/ Brianne J. Gorod
                                               Brianne J. Gorod
                                               Counsel for Amici Curiae
